       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 1 of 28



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------- x
                                     :
 UNITED STATES OF AMERICA
                                     :
           - v. -
                                     :         S1 17 Cr. 127 (KMW)
 JOSEPH MELI,
                                     :
                  Defendant.
                                     :
 ----------------------------------- x




                THE GOVERNMENT’S SENTENCING MEMORANDUM




                                               GEOFFREY S. BERMAN
                                               United States Attorney for
                                               the Southern District of New York


Elisha J. Kobre
Brendan F. Quigley
Assistant United States Attorneys
   - Of Counsel -
            Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 2 of 28



                                                    TABLE OF CONTENTS


BACKGROUND ........................................................................................................................... 2
         Overview of the Scheme ...................................................................................................... 2
       A.       Meli Uses Investor Funds to Buy a House in the Hamptons ........................................ 4
       B.       Meli Uses Investor Funds In Connection with a Separate Ponzi Scheme .................... 5
       C.    Meli Uses Investor Funds to Buy a Porsche and Multiple Watches and to Improve the
       Green Hollow Road Home...................................................................................................... 7
       D.    Meli and Two Co-conspirators Use Investor Funds to Pay Back Prior Investors and to
       Pay Personal Debts ................................................................................................................. 8
       E.       Meli Defrauds Another Group of Investors Out of Almost $8 Million...................... 12
             The Guidelines Calculation ............................................................................................ 13
DISCUSSION .............................................................................................................................. 15
         The Court Should Impose a Guidelines Sentence.............................................................. 15
       A.    The Nature and Circumstances of the Offense, and the Need for the Sentence
       Imposed to Reflect the Seriousness of the Offense, Promote Respect for the Law, and
       Provide Just Punishment Require a Guidelines Sentence ..................................................... 15
       B.    A Guidelines Sentence Is Necessary for General and Specific Deterrence, and to
       Protect the Public .................................................................................................................. 17
       C.       The Loss Calculation Does Not Overstate Meli’s Culpability ................................... 19
       D.       The Court Should Reject Meli’s Remaining Arguments............................................ 20
             The Court Should Also Impose Forfeiture ..................................................................... 23
       A.       Applicable Law........................................................................................................... 23
       B.       Discussion................................................................................................................... 24
             Restitution ...................................................................................................................... 25
       A.       Applicable Law........................................................................................................... 25
       B.       Discussion................................................................................................................... 25
CONCLUSION ........................................................................................................................... 26
        Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 3 of 28




       The Government makes this submission in advance of the sentencing of Joseph Meli

(“Meli” or “the defendant”), which is scheduled for Thursday, March 29, 2018. In the plea

agreement in this case, the parties stipulated that the applicable Guidelines range is 78 to 97

months’ imprisonment. The Probation Department agrees with that calculation. As set forth

below, the Government submits that a sentence within that range, along with forfeiture and

restitution, is sufficient but not greater than necessary to serve the legitimate purposes of

sentencing.

       Meli’s conduct was not “aberrant,” nor did it involve an isolated “lapse in judgment.”

(Meli Sentencing Mem. at 2). Instead, over a period of years and right up until the time of his

arrest, Meli used lies and phony documents to induce over 100 individuals and entities to give

him over $100 million dollars. Meli then misappropriated this money, using investors’ funds to

pay back prior investors in a Ponzi-like fashion and to finance a luxurious lifestyle, including the

purchase of a house in the Hamptons, a Porsche 911, and numerous pieces of jewelry and high-

end clothing.

       Far from demonstrating regret over this purported “lapse,” Meli’s sentencing submission

raises a significant question about whether he has accepted responsibility for his crimes. He

claims, for example, that his misrepresentations were “collateral to the fundamental terms of the

deal.” (Meli Sent. Mem. at 23). This is a materiality argument, plain and simple. Yet the fake

agreements he provided to investors went to the heart of what he was marketing—purported

access to large blocks of live event tickets, based on his relationships in the ticket industry.

       Moreover, his assertion that his ticket deals were largely legitimate is unsupported by any

evidence, other than his own statements and the arguments of counsel. Notably, 14 months after

his arrest, and despite being represented by two major law firms, and engaging in extensive
        Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 4 of 28



third-party discovery in the parallel civil action before Judge Stanton, 1 Meli has produced zero

evidence of any actual agreements—paper, “handshake,” or otherwise—giving him access to the

concerts and shows discussed herein.

       To the contrary, the fact that his investors lost tens of millions of dollars in this case

confirms what Meli admitted in a recorded statement before his arrest: he ran a “shell game,” “all

along,” “tak[ing] money from one guy to pay off the other guy.” See Complaint, United States v.

Meli and Simmons, 17 Mag. 647 (S.D.N.Y. Jan. 26, 2017), ¶ 29(d), attached as Exhibit A. In

addition, while Meli contends “[h]is business operated on handshakes, on trust,” (Meli Sent.

Mem. at 19), the reality is that it was Meli who betrayed the trust of dozens of investors, some of

whom were his longtime friends.

       Accordingly, a Guidelines sentence is necessary to reflect the seriousness of the offense,

provide just punishment, and general and specific deterrence.

                                         BACKGROUND

        Overview of the Scheme

       From at least in or about 2015 up until days before his arrest on January 27, 2017, Meli

conducted a scheme to defraud over 100 investors who invested a total of approximately $100

million through false representations that Meli would use investor funds to purchase tickets to

various live events for resale at a profit on the secondary market. (See PSR ¶ 19). In fact, Meli

spent much of the investor funds on himself. He used investor funds to buy, among other things,

a $3 million house in East Hampton, New York, a 2017 Porsche convertible, and expensive

watches and jewelry. (Id.). He also used investor funds to further his and others’ criminal


1
 (See, e.g., Securities and Exchange Comm. v. Meli, et al., No. 17 Civ. 632 (LLS) (S.D.N.Y.)
Dkt. Nos. 141, 142, 145, 146, 147, 148, 149, 152, 153, 154, 155, 156 (reflecting litigation over
subpoenas Meli issued to third parties relating to purported ticket agreements)).

                                                  2
           Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 5 of 28



conduct. He used investors’ money to pay back his own prior investors, in a Ponzi-like manner,

and to pay back a prior investor in a different Ponzi scheme involving a hedge fund named

Sentinel Growth Fund Management (“Sentinel”) operated by Meli’s associate, Mark Varacchi.

(Id.). 2

           In furtherance of his fraudulent scheme, Meli falsely represented to investors that,

through his company Advance Entertainment, LLC (“Advance”), he had entered into written

agreements with production companies for popular Broadway shows and with management

companies for popular singers to purchase large blocks of tickets to the shows and performances.

(PSR ¶ 20). In reality, Meli had not entered into such agreements and did not have any

contractual rights to purchase such tickets. (PSR ¶ 20).

           To convince investors that he had access to these blocks of tickets, Meli created and

provided investors with false contracts between him and over at least a half-dozen production or

management companies (“the Production and Management Companies”). These included:

               •   A fake agreement that purportedly between Meli and                   , the
                   company that produces the Broadway show Hamilton, relating to Hamilton
                   tickets.

               •   Multiple fake agreements between Meli and                                  ,a
                   major concert promotion company, relating to tickets to concerts by Justin
                   Beiber, the Chainsmokers, Ariana Grande, Katy Perry, and Roger Waters.

               •   A fake agreement between Meli and                            , a concert
                   promotion company, relating to tickets to concerts by the singer Adele.

               •   A fake agreement between Meli and the                          , relating to
                   performances to the Broadway show Harry Potter and the Cursed Child.




2
 Varacchi pled guilty to securities fraud, wire fraud, and conspiracy to commit those offenses,
on or about February 1, 2017. See Docket, United States v. Varacchi, 17 Cr. 76 (NRB)
(S.D.N.Y.).

                                                    3
        Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 6 of 28



           •   Multiple fake agreements relating to tickets to concerts by the bands Metallica
               and the Grateful Dead/Dead and Company.

       These fake agreements listed, as authorized representatives entering into the agreements

on behalf of the Production and Management Companies, the names of individuals who actually

worked at those organizations, and furthermore contained fraudulent signatures of these

individuals. (See PSR ¶ 21).

       Below, the Government provides several examples of Meli’s false representations to

investors and his misappropriation of investor funds.

       A. Meli Uses Investor Funds to Buy a House in the Hamptons

       For example, in or about August 2015, Meli solicited a particular individual who

operated a family-controlled investment office (“Victim Entity-1”) to invest with Meli’s

company, Advance, in the purchase of a large number of tickets to Hamilton, for resale on the

secondary market. (PSR ¶ 22). In furtherance of the fraudulent scheme, Meli e-mailed a

representative of Victim Entity-1 a purported draft “Letter Agreement” between Advance and the

production company for Hamilton, which reflected an agreement between Advance

Entertainment and Hamilton’s producers, allowing Meli to buy 35,000 Hamilton tickets for a

total of $7,000,000. (Id.). Meli forwarded this agreement to the representative of Victim Entity-

1 along with the note “Signed copy for you coming.” (Id.). However, Meli had no such

agreement with Hamliton’s production company and the Letter Agreement was fraudulent. (Id.).

       However, on October 14, 2015, based upon Meli’s misrepresentations, Victim Entity-1

wired $3,500,000 to Advance’s account at Merrill Lynch (the “3098 Account”) to finance Meli’s

purchase of Hamilton tickets. (Id.). That same day, Meli wired $2,875,000 from the 3098

Account, to an account for law firm located in Bridgehampton, New York (“Law Firm-1”). (Id.).

Two weeks later, on October 28, 2015, Meli’s wife bought several parcels of land in Suffolk


                                                4
        Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 7 of 28



County, New York, including the property at 50 Green Hollow Road, East Hampton, NY (the

“Green Hollow Road House”), for $3 million. (Id.). The seller of the home confirmed to law

enforcement that the Law Firm represented the Melis at the closing. 3 In short, Meli used Victim

Entity-1’s funds not to buy tickets, but to purchase a home in the Hamptons.

       B. Meli Uses Investor Funds In Connection with a Separate Ponzi Scheme

       Meli also misappropriated investor funds to assist his associate, Mark Varacchi, to repay

an investor in Varacchi’s hedge fund, whose funds Varacchi had in turn misappropriated. This

occurred when, in or about December 2015, an investor in Varacchi’s hedge fund, Sentinel

Growth Fund Management (the “Sentinel Investor”), discovered that Varacchi had

misappropriated the Sentinel Investor’s funds and threatened to expose Varacchi’s fraud. (PSR ¶

23). Varacchi turned to Meli for assistance, explaining to Meli that Varacchi had an investor

who had demanded the return of his investment, but that Varacchi did not have sufficient funds

to repay the investor. (Id.) Meli agreed to assist Varacchi. Between on or about December 29,

2015 and April 15, 2016, Meli made several wire transfers from an account in the name of

Advance to Sentinel, totaling approximately $3.75 million, which Varacchi then used, in part, to

repay the Sentinel Investor. (PSR ¶ 24).

       The money Meli wired to Sentinel to assist Varacchi in repaying the Sentinel Investor

included, among other things, funds from another investor in Meli’s ticket scheme (“Victim

Entity-2”). (PSR ¶ 25). In or about December 2015, shortly before wiring Victim Entity-2’s


3
  Meli paid Victim Entity-1 back its investment using money invested by newer investors and not
by using the proceeds of actual ticket sales. For example, on or about February 11, 2016,
another investor, Victim-5 wired $5 million to the 3098 account based to finance Meli’s
acquisition of Adele tickets. The same day, Meli wired $3.5 million out of that account to
Victim Entity-1, as a purported repayment on Victim Entity-1’s investment. In Ponzi-like
fashion, Meli later paid Victim-5 a purported return on his investment by using money invested
by another investor, as described further below.

                                                5
        Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 8 of 28



funds to Sentinel, Meli had solicited an investment from Victim Entity-2 of approximately $1.25

under the false pretenses that Meli would use the investment to purchase bulk tickets to Hamilton

for resale on the secondary market. Meli provided Victim Entity-2 with a purported “Letter

Agreement” between Advance and Hamilton’s producers, which was similar to the letter Meli

provided to Victim Entity-1. (Id.). Unlike the agreement shown to Victim Entity-1, however,

the agreement Meli gave to Victim Entity-2 actually purported to be signed by the managing

partner of Hamilton’s production company (the “Managing Partner”). (Id.). Again, this Letter

Agreement was fake; Meli had no agreement to purchase tickets from Production Company-1

and the Managing Partner’s signature on the Letter Agreement was forged. (Id.).

       On or about December 23, 2015, Meli forwarded to Varacchi an e-mail from an

employee of Victim Entity-2 stating, in substance, that Victim Entity-2 had signed documents to

invest with Meli and would send its investment upon Meli’s direction. (PSR ¶ 26). Meli

included with this forwarded e-mail the note “[r]est peacefully young prince. The wolf is on the

way,” meaning that Meli would soon be in a position to assist Varacchi to repay his investor by

misappropriating the investment provided by Victim Entity-2. (Id.) On December 28, 2015,

Victim Entity-2 wired $1.25 million to the 3098 Account, to fund the purported Hamilton

investment. The very next day, Meli wired $1.5 million to Sentinel. (Id.) Before Victim Entity-

2’s investment, the balance in the 3098 Account was approximately $803,327.20. Thus, Meli

would not have been able to make the payment to Sentinel without misappropriating Victim

Entity-2’s investment. 4




4
 Shockingly, during the pendency of this prosecution, Meli, through counsel, submitted a Proof
of Claim to the court-appointed receiver overseeing claims against Sentinel. Meli continued to
pursue this claim after his guilty plea.

                                               6
        Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 9 of 28



       C. Meli Uses Investor Funds to Buy a Porsche and Multiple Watches and to
          Improve the Green Hollow Road Home

       In June 2016, Meli used investor funds to make improvements to the Green Hollow Road

House, to purchase jewelry, and to buy a Porsche 911 Turbo (the “Porsche 911”).

       On June 16, 2016, Victim Entity-3 sent $1,000,000 to the 3098 Account, based on

representations by Meli that Meli had an agreement to purchase tickets to concerts by Adele.

(See Victim Impact Statement of                 ). Prior to this, the 3098 Account had a balance

of $263,267.63. On June 20, 2016, another investor (“Victim-4”) wired $500,000 to the 3098

account, also based on Meli’s representation that he had an agreement to buy tickets to Adele.

(See Victim Impact Statement of                         ). Before these investments, the 3098

Account, had a balance of $1,384,659.13. 5

       The following day, among other transactions, Meli wire (i) $3,300 to Flawless Jewelry

and (ii) $450,000 to Green Home Construction Corporation. The payment to Green Home

Construction represented a partial payment on two contracts that the Melis had entered into with

Green Home—one for improvements to the Green Hollow Road House, including interior

renovations and construction of a basketball court, and the other for construction of a pool and

pool house at the Green Hollow Road House.

       On June 23, 2016, with the account balance, $350,122.69, the 3098 Account made a wire

transfer of $208,000 to Manhattan Motorcars, Inc. The next day, Meli closed on the purchase of

a Porsche 911 Turbo from Manhattan Motorcars, for a total purchase price of $238,000.




5
  Between June 16 and June 20, the 3098 Account also, among other things, charged $4,925.54
at Barneys New York, paid a $2,500 parking bill, and spent over $1,000 at a high-end clothing
store in East Hampton New York, over $2,200 at a sporting goods store in East Hampton, New
York, and over $1,500 at a swimwear store in the Hamptons.

                                                7
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 10 of 28



       There were no other deposits in the 3098 account between June 16 and June 24, other

than the Victim Entity-3 and Victim-4 investments described above.




                                                             Y.).

                                              8
Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 11 of 28
Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 12 of 28
Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 13 of 28
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 14 of 28




       E. Meli Defrauds Another Group of Investors Out of Almost $8 Million

       Meli’s scheme continued right up until his arrest in January 2017.

       In or about late 2016 and early 2017, Meli solicited an investment of approximately

$7,860,000 from a group of investors (“Victim Entity-7”) under the false pretenses that Meli

would use the investment to purchase bulk tickets to the Broadway show Harry Potter and the

Cursed Child for resale on the secondary market. (PSR ¶ 30). One of the principals of Victim

Entity-7 was a lifelong friend of Meli’s.

       In furtherance of the fraudulent scheme, however, Meli provided the investor group with

a purported “Letter Agreement” between Advance and the production company for Harry Potter

which reflected an agreement that Advance would purchase 25,000 tickets to Harry Potter from

the production company for total of $62,500,000. (Id.). The Letter Agreement—which Meli

provided to a representative of Victim Entity-7 but asked that it not be shared with others—

purported to be signed by the Chief Executive Officer of the production company for Harry

Potter (the “CEO”). (Id.) In fact—once again—the Letter Agreement was fake; Meli had no

such agreement to purchase tickets, and the CEO’s signature on the Letter Agreement was

forged. Moreover, rather than using the investor funds from Victim Entity-7 to purchase tickets,

as Meli had promised, Meli used those funds to repay prior investors in the scheme; to pay for

expensive meals, clothing and shoes and other personal expenses, including a $13,000 charge at

the Beverly Hills Four Seasons, a $3,000 purchase of wine, and a $43,000 purchase at clothing




                                               12
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 15 of 28



store in West Hollywood, CA; and as payment to a law firm to represent Meli in connection with

the investigation into Meli’s fraud. (Id.). 11

                                                 ***

        Meli defrauded numerous other investors in a similar manner to those described above.

He repeatedly induced investors to give him money by using fraudulent agreements containing

forged signatures of purported representatives of the Production and Management Companies

and then misappropriated those investors’ funds.

                The Guidelines Calculation

        Both the parties and the Probation Office calculate the Guidelines as 78 to 97 months’

imprisonment. The base offense level is 7, pursuant to U.S.S.G §2B1.1(a)((1).

        The loss involved approximately $59,897,913.71. The Government calculated this

number by analyzing bank records for Advance Entertainment and for three other entities which

received investor funds in Meli’s scheme—Advance Entertainment II, 875 Holdings, and 127

Holdings. Together, these accounts received $106,954,565 in investor funds. Pursuant to

Application Note 3(E)(i) to U.S.S.G. §2B1.1, Meli received a credit for money returned to

investors prior to his arrest, 12 although it bears noting that these “returns” often were traceable to

money Meli got from newer investors. In addition, the Government omitted from the loss


11
  (See also 4/16/17 Order, Dkt. No. 49 (granting Government’s motion for post-indictment
restraining order as to money Meli transferred to Kasowitz, Benson, and Torres before his
arrest)).
12
   See U.S.S.G. § 2B1.1, App. Note (3)(E)(i) (“Loss shall be reduced by . . . [t]he money
returned, and the fair market value of the property returned and the services rendered, by the
defendant or other persons acting jointly with the defendant, to the victim before the offense was
detected. The time of detection of the offense is the earlier of (I) the time the offense was
discovered by a victim or government agency; or (II) the time the defendant knew or reasonably
should have known that the offense was detected or about to be detected by a victim or
government agency.”).

                                                  13
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 16 of 28



calculation any transactions that it determined did not involve deposits by victim-investors, e.g.,

numerous wire transfers between Meli and              and related entities. In addition, with respect

to many of Meli’s larger investors, i.e., individuals who lost over a million dollars, the

Government’s loss calculations have been corroborated by interviews with those investors or

their representatives and/or Victim Impact Statements submitted in connection with sentencing.

Accordingly, because the offense involved more than $25,000,000 but less than $65,000,000 in

loss, 22 levels are added, pursuant to U.S.S.G. §2B1.1(b)(1)(L).

       In addition, two levels are added, pursuant to U.S.S.G. §2B1.1(b)(2)(a)(i), because the

offense involved ten or more victims.

       The PSR and the plea agreement provide for a three-level reduction, in light of Meli’s

guilty plea. Nonetheless, the Government submits that Meli’s sentencing submission, in which,

as discussed herein, he makes unsupported assertions regarding his purported actual ticket

business; claims, despite significant evidence to the contrary, that he tried to dissuade co-

conspirators from misappropriating investor funds; and repeatedly blames others, including the

Government, for his predicament, raises a real question as to whether acceptance credit is

appropriate. “A defendant who enters a guilty plea is not entitled” to acceptance credit “as a

matter of right,” particularly where he denies relevant conduct or takes other action inconsistent

with acceptance. See U.S.S.G. §3E1.1 App. Note 3 (“Entry of a plea of guilty prior to the

commencement of trial combined with truthfully admitting the conduct comprising the offense of

conviction, and truthfully admitting or not falsely denying any additional relevant conduct . . .

will constitute significant evidence of acceptance of responsibility . . . . However, this evidence

may be outweighed by conduct of the defendant that is inconsistent with such acceptance of

responsibility. A defendant who enters a guilty plea is not entitled to an adjustment under this



                                                 14
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 17 of 28



section as a matter of right.”). 13 If the Court determined acceptance credit was nonetheless

appropriate, the resulting Guidelines offense level would be 28. Meli is in Criminal History

Category I, yielding a Guidelines range of 78 to 97 months. (PSR ¶¶ 28, 54, Recommendation).

                                          DISCUSSION

        The Court Should Impose a Guidelines Sentence

       The Court should impose a Guidelines sentence. Such a sentence would be sufficient but

not greater than necessary to serve the legitimate purposes of sentencing.

       A. The Nature and Circumstances of the Offense, and the Need for the Sentence
          Imposed to Reflect the Seriousness of the Offense, Promote Respect for the Law,
          and Provide Just Punishment Require a Guidelines Sentence

       First, a Guidelines sentence is appropriate in light of “the nature and circumstances of the

offense,” and the “need for the sentence imposed to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense.” 18 U.S.C. §

3553(a)(1)-(2).

       The offense conduct here was brazen on several levels. Obviously, it involved

defrauding investors out of tens of millions of dollars, which standing alone makes this an

extremely serious offense.

       It is undisputed that Meli knew many of his victims. Bizarrely, Meli sees this as a

mitigating factor. The Government disagrees. Meli’s offense conduct involved the repeated



13
  In addition, the Government’s stipulation to acceptance of responsibility credit in the plea
agreement was conditioned not only on Meli’s plea allocution, but also “his subsequent conduct
prior to the imposition of sentence.” See Plea Agreement at 2; see also id. at 3 (“Nothing in this
Agreement limits the right of the Government to seek denial of the adjustment for acceptance of
responsibility, see U.S.S.G. § 3E1.1, regardless of any stipulation set forth above, if the
defendant fails clearly to demonstrate acceptance of responsibility, to the satisfaction of the
Government, through his allocution and subsequent conduct prior to the imposition of
sentence”).

                                                15
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 18 of 28



deception of friends and colleagues, both to get them to invest in the first instance and then to

use those friends to introduce him to other individuals who became victims of the scheme. (See.

e.g., Victim Impact Statement                noting “Meli befriended [his family] several years

ago . . . Meli manipulated           to introduce him to other investors”); Victim Impact

Statement of                 (noting “Joe’s continual and brazen lies to my face” over “a half

dozen meetings over the course of 2016”). One of the investors in Victim Entity-7 was a

childhood friend of Meli’s. Thus, while Meli makes much of how his purported ticket business

operated on “trust” and his “trustworthiness,” the reality is that he preyed on those that trusted

him the most.

       Further, Meli asserts that he “generally marketed this opportunity to wealthy individuals

who could afford to invest in such a high-risk, high-reward venture[.]” (Meli Sent. Mem. at 30).

Of course, Meli did not bother to tell his victims that this “high-risk, high-reward venture” was

actually a Ponzi scheme and that while the risk would be theirs, the rewards were all his. The

scheme caused his victims financial, emotional, and other real harm. (See, e.g., Victim Impact

Statement of                             (noting “We had to take out extremely large loans to pay

for our family living and expenses”); Victim Impact Statement of                       (noting

“financial stress,” including loss of retirement savings, and “personal stress” extending to “every

single aspect of our lives and our children’s lives”) Victim Impact Statement of

(explaining that money lost with Meli would have been used to buy a home and start a

business)).

       In addition, while the Government did not require Meli to plead guilty to a separate count

of aggravated identity theft as part of his plea agreement, the fact remains that Meli’s scheme

used the names of real individuals and entities on fake agreements. Meli’s conduct thus also



                                                 16
         Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 19 of 28



exposed these individuals to potential reputational and financial harm when Meli’s scheme came

apart.

         B. A Guidelines Sentence Is Necessary for General and Specific Deterrence, and to
            Protect the Public

         Second, a Guidelines sentence is necessary for general and specific deterrence and to

protect public from further crimes of the defendant. 18 U.S.C. § 3553(a)(2)(A).

         As to specific deterrence and the need to protect the public from further crimes of the

defendant, throughout his 70-page sentencing submission, Meli attempts to shift the blame

elsewhere, ignoring basic realities of his fraud. Most notably, Meli goes so far as to blame the

Government for “some of the losses” to his investors, because of the “business interruption”

caused by Meli’s “unexpected arrest.” (See Meli Sent. at 39). This is ridiculous. For one, at the

time of his arrest, Meli had defrauded investors out of over $50 million, and thus his arrest

should have hardly been unexpected. Indeed, Meli acknowledged just weeks before the filing of

charges in this case that he was running a “shell game,” “all along,” “tak[ing] money from one

guy to pay off the other guy.” (See Complaint, United States v. Meli and Simmons, 17 Mag. 647

(S.D.N.Y. Jan. 26, 2017), ¶ 29(d), attached as Exhibit A). 14

         Meli’s invocation of the fraudster’s refrain—that he was just a deal or two away from

making everything alright, see, e.g., Meli. Sent. Mem. at 39—indicates that he maintains much

the same outlook as he did when he was committing the offense conduct and has learned little, if

anything, while awaiting sentencing. There is no evidence, other than Meli’s word, that Meli


14
  Similarly, Meli also claims, by way of mitigation, that “his investors were savvy and
sophisticated market participants who fully understood the nature of the investment opportunity.”
(Meli Sent. Mem. at 50). Of course, the investors did not “fully underst[and]” that there were
not, in fact, any actual agreements between Meli and the Production and Management
Companies or that Meli was using their money to pay back prior investors, buy a house in the
Hamptons, a Porsche, and other luxury items.


                                                 17
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 20 of 28



“had committed substantial amounts of cash to the purchase of tickets to three major live events .

. . that had not occurred. These tickets had not yet been printed. Additional millions had bene

invested in tickets for Adele and Hamilton.” (See Meli Sent. Mem. at 39).

       There is abundant evidence, however, that, right up until his arrest, Meli was using

investor money to pay back other investors and to finance a luxurious lifestyle. For example,

bank records for the 3098 Account, the primary account that received investor funds, show that

the account received $10.81 million in credits in January 2017, largely from investors, and spent

almost the exact same amount, $10.37 million, during that month. Most of the spending

involved repayments to prior investors and expenditures on what appear to be luxury items,

including charges of approximately $44,000 to two wine distributors; $5,300 at restaurants;

$53,195.32 at clothing stores; $2,872.72 on car services; $18,750 on airfare, and $20,591.91 on

hotels, including a $2,800 charge at location that markets itself as a “a luxury eco chic hotel and

wellness center and a premier yoga retreat studio”—all in a single month.

       As such, Meli’s repeated assertions and insinuations that the investor losses were due to

his “cash problem,” his lack of record-keeping acumen, and the actions of others, including the

Government, ignore basic realities of the record in this case. And they strongly suggest that,

because Meli has failed to come to grips with what he actually did, specific deterrence is a

unusually critical sentencing factor in this case and therefore that a Guidelines sentence is

necessary.

       As to general deterrence, while Meli makes much of the media attention that this case has

received, that fact only highlights the need for a significant sentence of imprisonment here. The

Court’s sentence will undoubtedly send a message to the public. If Meli were to receive only a

modest custodial term, the press coverage he heralds will convey that to all those performing the



                                                 18
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 21 of 28



risk/reward calculus inherent in embarking upon a significant white-collar crime. Respectfully,

the Government submits that the message should not be that fraudsters who cheat people out of

tens of millions of dollars are treated leniently.

        C. The Loss Calculation Does Not Overstate Meli’s Culpability

        Meli argues for a below-Guidelines sentence because, he claims, the Guidelines overstate

his culpability. (See Meli Sent. Mem. at 37-39). The Court should reject this argument.

        First, the loss amount in this case, approximately $60 million, is at the high end of the

$25,000,000 to $65,000,000 loss range in U.S.S.G. §2B1.1(b)(1)(L). This is significant because

even if the Government and the Probation Department were mistaken in their Guidelines

calculation (as to which the defendant has stipulated), they would have to be almost $35 million

off for the next lower Guidelines range to apply.

        Second, the current loss amount gives Meli credit for money paid back to investors, even

though these “returns” often represent money misappropriated from newer investors. Relatedly,

“net winners,” i.e., individuals who received back their principal from Meli, are not reflected in

the loss figure or on the Schedule of Victims. As such, the loss figure in some ways actually

understates Meli’s culpability because it does not reflect the full extent of his actions in

fraudulently inducing individuals to invest with him.

        Third, while the terms and conditions of the purported 875 Holdings investment were

somewhat different than the investments described above, the losses of investors in 875 Holdings

are properly counted as part of the loss figure. For one, as evidenced by Victim Impact

Statements, Meli was involved in soliciting these investments. (See, e.g., Victim Impact

Statement of                              ). Moreover, investor funds were routinely transferred

between and among the various 875 Holdings, 127 Holdings, Advance Entertainment, and



                                                     19
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 22 of 28



Advance Entertainment II accounts, and misappropriated. Meli’s arguments regarding 875

Holdings are simply another example of his efforts to blame everyone but himself for the offense

conduct here.

       Finally, Meli’s other arguments regarding the loss amount, including his conclusory

arguments regarding “actual business losses,” “non-ticket related business ventures,” and

“finder’s fees,” largely echo other themes throughout his sentencing submission. Again, Meli

seeks to blame others, and despite being represented by two major law firms, presents no

evidence to support these arguments, other than his own say so. Respectfully, the Court should

not rely on the word of an admitted fraudster who indisputably defrauded investors out of tens of

millions of dollars.

       D. The Court Should Reject Meli’s Remaining Arguments

       The Court should reject Meli’s remaining arguments regarding the § 3553(a) factors.

       First, a Guidelines Sentence would not result in “unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. §

3553(a)(6).

       To begin, the loss amount of $25,000,00 to $65,000,000, which the parties have

stipulated to, plainly puts Meli among the most culpable of fraud defendants nationwide.

Sentencing Commission statistics for 2016, the most recent year for which data is available,

show only 0.7 percent of defendants sentenced pursuant to U.S.S.G. § 2B1.1 had a loss figure of

greater than $20,000,000. See U.S. Sentencing Comm., Use of Guidelines and Specific Offense

Characteristics, Offender Based, Fiscal Year 2016, at 8-10. 15



15
  Available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-
sentencing-statistics/guideline-application-frequencies/2016/Use_of_SOC_Offender_Based.pdf.

                                               20
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 23 of 28



        Moreover, sentencing considerations are, of course, unique to each case, and, in the cases

cited on page 58 of Meli’s submission which involved 78 to 97 month Guidelines ranges, there

were mitigating circumstances not present here. In United States v. Hochfeld, for example, the

Government noted that, prior to sentencing, the “defendant had been extremely cooperative,”

working “with the SEC in gathering the assets and trying to work things out with investors.”

Transcript, United States v. Hochfeld, No. 13 Cr. 21 (PAC) (S.D.N.Y. 2013), ECF No. 28, at 15.

In imposing sentence, Judge Crotty also noted the “unusual circumstances” of the case, in which

many of the defendant’s victims submitted letters “saying kind and generous things” about him.

Id. at 19-20. In United States v. Hampton, Judge Sweet noted “the defendant’s immediate

cooperation when approached by the Government, his showing of remorse for his acts, [and] his

motivation for conducting the offense,” which was to recover losses his hedge fund suffered as a

result of legitimate trading. See United States v. Hampton, No. 13 Cr. 301 (RWS), 2013 WL

5366378, at *6 (S.D.N.Y. Sept. 25, 2013). In United States v. Gray, the defendant appears to

have suffered from deep psychological issues, and, also proffered with the Government multiple

times. Transcript, United States v. Gray, No. 15 Cr. 97 (SHS) (S.D.N.Y. Oct. 25, 2017), ECF

No. 58, at 10-11, 35. 16

        As such, none of these cases are useful analogs to this one. Again, in the 14 months since

his arrest, Meli has made no efforts to assist the Government or the SEC in returning funds to




16
   In addition, in United States v. Newkirk, Judge Rakoff calculated the Guidelines range as 57 to
71 months–not 135 to 168 months as Meli’s submission states. Transcript, United States v.
Newkirk, No. 14 Cr. 534, (S.D.N.Y. Apr. 21, 2016), ECF No. 136 at 4. Finally, in United States
v. Shamilzadeh, No. 04 Cr. 194 (JG) (E.D.N.Y. Apr. 1, 2008), cited on page 61 of Meli’s
submission, then-Judge Gleeson noted “the extraordinary timing of [the defendant’s] cooperation
and its nature,” see Meli Sent. Mem. at 61, circumstances clearly not present here.

                                                21
          Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 24 of 28



investors. 17 It appears that only one investor, out of over 100, has submitted a letter on Meli’s

behalf.

                                                                                          . Perhaps

most significantly, once again, blame-shifting and minimizing, not “remorse,” are the themes

that echo throughout Meli’s sentencing submission.

          Accordingly, the Court should reject Meli’s arguments regarding unwarranted sentencing

disparities.

          Second, the Court should reject Meli’s arguments that his history and characteristics

militate towards a below-Guidelines sentence. For one, Meli’s only employment during the

period of the offense conduct was his purported ticket-selling business. (PSR ¶¶ 87-88). Thus, it

is certainly reasonable to infer that much of Meli’s purported charity and generosity over the last

several years was unwittingly funded by his victims. Further, while the defendant’s conviction

undoubtedly impacts his family, this is unfortunately true in any criminal case and thus does not

warrant a variance. 18

          Finally, the Court should reject Meli’s suggestion that a non-Guidelines sentence is

necessary to help Meli make restitution. As a threshold matter, this argument is nearly always

available to white collar defendants and, if adopted, would simply provide fraudsters a way to


17
   Similarly, the Court should reject defense counsel’s suggestion that leniency is warranted
because counsel offered to make Meli available for a proffer session. The Government declined
this invitation because of its doubts about Meli’s veracity, a concern that has been borne out by
the blame-shifting and lack of remorse that pervades his sentencing submission.
18
   As to his college education, Meli’s sentencing submission asserts that “Joe always thought that
he had graduated from the University of Utah, [but] he discovered in 2015 during a background
check that he was a few credits shy of a bachelor’s degree, due to an issue with credits
transferred from Boston University.” (Meli Sent. Mem. at 7 n.2). It bears noting, however, that
multiple investor presentations from 2016 obtained by the Government represent that Meli held a
bachelor’s degree from the University of Utah.

                                                  22
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 25 of 28



purchase their liberty at the sentencing phase. Such a paradigm would be antithetical to the idea

of equal justice under law. Moreover, Meli provides no concrete information on how he intends

to cover tens of millions of dollars in investor losses. And the Government is unaware of any

tangible steps Meli has made to make investors whole in the 14 months since his arrest. 19 Any

reduction in Meli’s sentence would provide little, if any, increase in the likelihood that restitution

will be paid in full here.

                The Court Should Also Impose Forfeiture

        The Court should also impose forfeiture, in the form of a money judgment for

$104,764,565.00, to be satisfied in part by the forfeiture of certain specific property listed in the

Indictment and traceable to Meli’s offense.

        A. Applicable Law

        The forfeiture statute pertaining to securities fraud broadly provides for the forfeiture of

“[a]ny property, real or personal, which constitutes or is derived from proceeds traceable to [the]

violation.” 18 U.S.C. § 981(a)(1)(C).

        In addition to seeking forfeiture of specific property that was derived from or used to

facilitate a crime, the Government may obtain a money judgment against the defendant to

recover the amount of the defendant’s crime proceeds. E.g., United States v. Baker, 227 F.3d

955, 970 (7th Cir. 2000) (a forfeiture order may include a money judgment for the amount of

money involved in an offense; the money judgment acts as a lien against the defendant

personally for the duration of his prison term and beyond).



19
  The Court should reject defense counsel’s suggestion that leniency is warranted because of
Meli’s efforts in “gathering available funds” and “provid[ing] information and documents to U.S.
Probation.” Every defendant is required to provide the Probation Department with truthful and
complete information

                                                  23
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 26 of 28



        The amount of the money judgment should be equal to the gross proceeds of the

defendant’s crime, without deducting expenses. See, e.g., United States v. Uddin, 551 F.3d 176,

181 (2d Cir. 2009) (defendant convicted of food stamp fraud was properly-sentenced to a

forfeiture money judgment equal to the entire loss amount paid by the government, without

subtracting the amount of cash that the defendant shared with the food stamp beneficiary;

“Because the statute [18 U.S.C. § 981(a)(2)(A)] directs that ‘proceeds’ are not limited to net

profits from the crime, and because any proceeds directly traceable to food stamp fraud are

subject to forfeiture, the district court did not commit error by entering a forfeiture order equal to

the entire loss amount.”); United States v. Nicolo, 597 F. Supp. 2d 342, 347 (W.D.N.Y. 2009)

(“With respect to forfeiture of fraud proceeds under § 981, then, a defendant may be ordered to

forfeit all monies received by him as a result of the fraud, regardless of his net profits from the

scheme.”).

       A money judgment is appropriate even if the defendant did not retain the proceeds of his

crime or does not have the resources to pay the money judgment. United States v. Awad, No. 06

Cr. 600 (DLC), 2007 WL 3120907, at *4-5 (S.D.N.Y. Oct. 24, 2007) (“Where a defendant lacks

the assets to satisfy the forfeiture order at the time of sentencing, the money judgment against the

defendant is effectively an in personam judgment in the amount of the forfeiture order.”).

       B. Discussion

       The Court should impose a money judgment for $104,764,565, representing the gross

proceeds Meli received from his scheme. (Sweeney Aff. ¶ 12).

       To partially satisfy the money judgment, the Court should also order forfeiture of certain

specific properties listed in the indictment. As explained more fully in the accompanying




                                                 24
          Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 27 of 28



affidavit of FBI Special Agent Sean Sweeney, Meli’s purchase of these properties is traceable to

the fraudulent scheme described above.

                 Restitution

          The Court should also order restitution.

          A. Applicable Law

          The Mandatory Victims Restitution Act, 18 U.S.C. § 3663A (“MVRA”), applies to the

offense at issue because Meli’s offenses were committed by fraud or deceit. See 18 U.S.C. §

3663A(c)(1)(A)(ii). The MVRA provides that, regardless of a defendant’s economic

circumstances, the Court, in its order of restitution, “shall order restitution to each victim in the

full amount of each victim’s losses as determined by the court.” 18 U.S.C. § 3664(f)(1)(A); see

United States v. Coriaty, 300 F. 3d 244, 253 (2d Cir. 2002) (observing “the statutory focus on the

victim’s losses and upon making victims whole”).

          The Government bears the burden of demonstrating the loss amount sustained by the

victim because of the offense. 18 U.S.C. § 3664(e). Any dispute as to the proper amount or type

of restitution is to be resolved by the court by a preponderance of the evidence. Id. “Findings of

the amount of loss may be based upon reasonable estimates.” United States v. Agate, 613 F.

Supp. 2d 315, 323 (E.D.N.Y. 2009) (citing United States v. Uddin, 551 F.3d 176, 180 (2d Cir.

2009)).

          B. Discussion

          Here, the Court should order restitution as set forth on the attached Proposed Restitution

Order and Schedule of Victims. 20 As discussed above, the victims of Meli’s fraud are those


20
  For a number of victims on the Schedule of Victims, the Government is still attempting to
obtain and/or verify address information. If the Government obtains additional address
information before sentencing, it will submit an updated list to the Court.

                                                     25
       Case 1:17-cr-00127-KMW Document 132 Filed 03/22/18 Page 28 of 28



individuals who invested in Meli’s purported ticket resale opportunities during the relevant time

period and who sustained losses because of those investments. 21

                                         CONCLUSION

        For the reasons set forth above, the Court should impose a Guidelines sentence and

forfeiture and restitution.

Dated: New York, New York
       March 21, 2018


                                              Respectfully submitted,

                                              GEOFFREY S. BERMAN
                                              United States Attorney
                                              for the Southern District of New York


                                      By:     ___________________________
                                              Elisha J. Kobre
                                              Brendan F. Quigley
                                              Assistant United States Attorneys
                                              Tel.: (212) 637-2599/2190




21
   In addition, two investors submitted claims for legal fees incurred as a result of Meli’s scheme,
and the restitution figure includes these fees. “The order of restitution shall require that [the]
defendant . . . reimburse the victim for lost income and necessary child care, transportation, and
other expenses incurred during participation in the investigation or prosecution of the offense or
attendance at proceedings related to the offense.” 18 U.S.C. § 3663A(b)(4). The Second Circuit
has held that “‘other expenses’ incurred during the victim’s participation in the investigation or
prosecution of the offense or attendance at proceedings related to the offense may include
attorney fees and accounting costs.” United States v. Amato, 540 F.3d 153, 159 (2d Cir. 2008)

                                                26
